         Case 1:05-cr-01849-JCH      Document 553-1       Filed 07/05/06    Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

vs.                                                Criminal No. 05-1849 JH

DANA JARVIS,

                       Defendant.

                              ORDER CONTINUING HEARING

          This matter having come before the Court on the Motion of counsel for the Defendant,

Dana Jarvis, and the Court being fully advised of the circumstances, finds the motion is well

taken;

          IT IS HEREBY ORDERED THAT Defendant’s Motion for a continuance of the hearing

on the Defendant’s Motion to Reconsider or Modify Order Denying Motion for Release of Funds

and Motion to Reconsider Order Denying Defendant’s Motion to End Constitutional Conditions

of Confinement, currently set for 1:30 p.m. on Tuesday, July 11, 2006, be and hereby is

VACATED and RESET until further notice from the Court.



                                                   __________________________________
                                                   JUDITH C. HERRERA
                                                   U.S. DISTRICT COURT JUDGE
     Case 1:05-cr-01849-JCH        Document 553-1   Filed 07/05/06   Page 2 of 2




SUBMITTED BY:

Electronically filed 7/5/06
_________________________
Joe M. Romero, Jr.
Attorney for Defendant Jarvis
1905 Lomas Blvd. NW
Albuquerque, NM 87104
(505) 843-9776

APPROVED BY:

unable to contact
James Braun
Assistant United States Attorney
P.O. Box 607
Albuquerque, NM 87103
(505) 346-7274, ext. 1464




                                           2
